O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                         WESTERN                                         District of                             NORTH CAROLINA
          UNITED STATES OF AMERICA
                     V.                                                              ORDER OF DETENTION PENDING TRIAL
      PHILLIP EZZELL DENTON .                                                      Case     2:07 cr 39-1
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                    Alternative Findings (A)
X    (1) There is probable cause to believe that the defendant has committed an offense
          X   for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841(a)(1), 18 U.S.C. § 922(g)(1)           .
              under 18 U.S.C. § 924(c).
X    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
     (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                          SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II— W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence                           a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                       Date                                                                           Signature of Judge
                                                                                      Dennis L. Howell, United States Magistrate Judge
                                                                                                 Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c)
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).

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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION
                                    2:07cr39-1

UNITED STATES OF AMERICA,

Vs.                                                                      ADDENDUM TO
                                                                        DETENTION ORDER
PHILLIP EZZELL DENTON.
_______________________________

I. FACTORS CONSIDERED

      18 U.S.C. § 3142:
      (g) Factors to be considered.--The judicial officer shall, in determining whether there are
      conditions of release that will reasonably assure the appearance of the person as required and
      the safety of any other person and the community, take into account the available information
      concerning--
       (1) The nature and circumstances of the offense charged, including whether the offense is a
        crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;
       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including--

           (A) the person's character, physical and mental condition, family ties, employment,
               financial resources, length of residence in the community, community ties, past
               conduct, history relating to drug or alcohol abuse, criminal history, and record
               concerning appearance at court proceedings; and
            (B) whether, at the time of the current offense or arrest, the person was on probation,
                on parole, or on other release pending trial, sentencing, appeal, or completion of
                sentence for an offense under Federal, State, or local law; and
      (4) the nature and seriousness of the danger to any person or the community that would be
        posed by the person's release.




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 II.                                     FINDINGS


  As to factor:


  (g)(1): The nature and circumstances of the offense charged involve a controlled substance.


  (g)(2): The weight of the evidence against the person appears to be unknown. No evidence
 has been presented as to this issue. The defendant is entitled to presumption of innocence.

  (g)(3): The history and characteristics of the person


      (A) Family ties, employment, financial resources, length of residence in the community,
  community ties, past conduct, history relating to drug or alcohol abuse, criminal history
  and record concerning appearance at court appearances indicate that the defendant has a six
  year length of residence in the Graham County community. The defendant has had previous
  employment and Salisbury and Gastonia, NC, but at the present time is unemployed. In
  regard to the defendant’s history relating to drug or alcohol abuse, the defendant has the
  following convictions:
         Offense                                                           Conviction Date
 ABC violation                                                                 04/10/76
 Operating a vehicle while intoxicated                                         05/03/77
 Possession with intent to sell and deliver a controlled substance             08/11/78
 Driving while impaired                                                        08/26/88
 Simple possession of a schedule 1 controlled substance, that being LSD        03/25/88
 Driving while impaired                                                        04/03/97
 Conspiracy to possess with intent to distribute cocaine and marijuana         08/26/98

 In addition to the above referenced offenses, the defendant has the following additional
 criminal convictions:
           Offense                                                          Conviction Date
 Assault on an officer                                                          11/18/76
 Carrying a concealed weapon                                                    09/19/77
 Driving while license revoked                                                  08/01/78
 Armed robbery                                                                   04/03/79
 Disorderly conduct                                                              03/26/87
 Disorderly conduct                                                              03/28/97

 The defendant’s record concerning appearance at court appearances shows that the defendant
 appears in court as he is scheduled.

      (B) At the time of the current offense or arrest, the defendant was on probation, parole
  or other release pending trial, sentencing, appeal or completion of sentence. It appears that



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  this factor does exist. During the period of time alleged in the bill of indictment, the
  defendant had been released on terms and conditions of bond for charges of felony
  trafficking methamphetamine, conspiracy to traffic in methamphetamine, felony possession
  with intent to manufacture, sell and deliver methamphetamine and three counts of violation
  of a domestic protection order which had allegedly occurred on June 11, 2007, August 4,
  2007 and September 13, 2007. As a result, this factor does exist.


 (g)(4): The nature and seriousness of the danger to any person or the community that would
 be posed by the person’s release indicate that the release of the defendant would create a
 danger to any other person or the community. The defendant has multiple convictions for
 felony charges involving controlled substances and has multiple charges involving either
 carrying a concealed weapon, assault on an officer or disorderly conduct. The defendant has
 not rebutted the presumption that his release would create a danger to any other person or the
 community. There has been shown by clear and convincing evidence that the release of the
 defendant would create a danger to any other person or the community and therefore the
 undersigned has determined to enter an order detaining the defendant.
 The undersigned does not find by a preponderance of the evidence that the release of the
 defendant would create a risk of flight on his part and further finds that the presumption has
 been rebutted as to that factor. The defendant has never failed to appear in any type of court
 proceeding.
 WHEREFORE, it is ORDERED that the defendant be detained pending further
 proceedings in this matter.


                                           Signed: November 8, 2007




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